          Case 1:07-cr-00057-OWW Document 74 Filed 01/15/08 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   STANLEY A. BOONE
     SHEILA K. OBERTO
 3   Assistant U.S. Attorneys
     4401 Federal Building
 4   2500 Tulare Street
     Fresno, California 93721
 5   Telephone: (559) 497-4042
 6
                    IN THE   UNITED STATES DISTRICT COURT FOR THE
 7
                             EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,             )        01:   07-CR-00057 OWW
                                           )
10                   Plaintiff,            )        STIPULATION TO CONTINUE
                                           )        HEARING and RESPONSE DATE and
11           v.                            )        ORDER
                                           )
12   CORY BEAUFORD and                     )
     THOMAS SANCHEZ,                       )
13                                         )
                     Defendants.           )
14                                         )
15
16           IT IS HEREBY STIPULATED by and between the parties hereto
17   through their respective counsel, STANLEY A. BOONE,             Assistant
18   United States Attorney for Plaintiff and CARRIE S. LEONETTI and
19   GALATEA R DELAPP, attorneys for defendants, that the hearing
20   presently set for January 22, 2008, at 9:00 a.m., may be continued
21   to February 4, 2008, at 9:00 a.m.             Also, the government's response
22   to defendant's motions, presently due on January 14, 2008, shall
23   be continued to January 28, 2008.
24   //
25   //
26   //
27
28                                             1
       Case 1:07-cr-00057-OWW Document 74 Filed 01/15/08 Page 2 of 2


 1        The parties also agree that time is excluded pursuant to the
 2   Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(1)(F) and
 3   (h)(8)(A).
 4                                              Respectfully submitted,
 5
                                                McGREGOR W. SCOTT
 6                                              United States Attorney
 7
 8   DATED: 1/14/08                    By       /s/ Stanley A. Boone
                                                STANLEY A. BOONE
 9                                              Assistant U.S. Attorney
10
     DATED: 1/14/08                     By      /s/ Carrie S. Leonetti
11                                              CARRIE S. LEONETTI
                                                Attorney for Cory Beauford
12
13   DATED: 1/14/08                     By      /s/ Galatea R DeLapp
                                                GALATEA R DELAPP
14                                              Attorney for Thomas Sanchez
15
16   IT IS SO ORDERED.
17   Dated: January 15, 2008               /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27
28                                          2
